∑∑∑∑∑IN THE UNITED STATES DISTRICT COURT
∑∑∑∑FOR THE MIDDLE DISTRICT OF TENNESSEE
∑∑∑∑∑∑∑∑∑NASHVILLE DIVISION




MICHAEL KULAKOWSKI,∑∑∑∑∑∑∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
∑∑∑Plaintiff,∑∑∑∑∑∑∑∑∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
vs.∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)CASE NO.
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)3:16-CV-02510
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
WESTROCK SERVICES, INC.,∑∑∑∑∑∑)
∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑)
∑∑∑Defendant.∑∑∑∑∑∑∑∑∑∑)
_________________________________




∑∑∑∑∑∑∑∑∑∑DEPOSITION OF

∑∑∑∑∑∑∑∑∑∑TRACYE BRYANT

∑∑∑∑∑Taken on Behalf of the Defendant

∑∑∑∑∑∑∑∑∑November 9, 2017

∑∑∑∑∑∑∑Commencing at 10:10 a.m.




__________________________________________________



Reported by:∑Jerri L. Porter, RPR, CRR
Tennessee LCR No. 335
Expires:∑6/30/2018




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∑1∑APPEARANCES:                                                    ∑1∑∑∑∑∑∑∑∑The deposition of TRACYE BRYANT was
∑2∑For the Plaintiff:                                              ∑2∑taken on behalf of the Defendant on November 9,
∑3∑∑∑∑∑∑HEATHER MOORE COLLINS
                                                                   ∑3∑2017, in the offices of Bone, McAllester & Norton,
∑∑∑∑∑∑∑Collins & Hunter
∑4∑∑∑∑∑∑7000 Executive Center Drive                                ∑4∑131 Saundersville Road, Suite 130, Hendersonville,
∑∑∑∑∑∑∑Building 2, Suite 320                                       ∑5∑Tennessee, for all purposes under the Federal Rules
∑5∑∑∑∑∑∑Brentwood, Tennessee∑37027
                                                                   ∑6∑of Civil Procedure.
∑∑∑∑∑∑∑(615) 724-1996
∑6∑∑∑∑∑∑heather@collinshunter.com                                  ∑7∑∑∑∑∑∑∑∑The formalities as to notice, caption,
∑7                                                                 ∑8∑certificate, et cetera, are waived.∑All objections,
∑∑For the Defendant:
                                                                   ∑9∑except as to the form of the questions, are reserved
∑8
∑∑∑∑∑∑∑MARY DOHNER SMITH                                           10∑to the hearing.
∑9∑∑∑∑∑∑Constangy, Brooks, Smith & Prophete                        11∑∑∑∑∑∑∑∑It is agreed that Jerri L. Porter,
∑∑∑∑∑∑∑1010 SunTrust Plaza
                                                                   12∑being a Notary Public and Court Reporter for the
10∑∑∑∑∑∑401 Commerce Street
∑∑∑∑∑∑∑Nashville, Tennessee∑37219                                  13∑State of Tennessee, may swear the witness, and that
11∑∑∑∑∑∑(615) 320-5200                                             14∑the reading and signing of the completed deposition
∑∑∑∑∑∑∑mdohner@constangy.com
                                                                   15∑by the witness are waived.
12
13                                                                 16
14                                                                 17
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                                                                   18
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17                                                                 19
18                                                                 20
19                                                                 21∑∑∑∑∑∑∑∑∑∑∑∑∑* * *
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∑1∑∑∑∑∑∑∑∑∑∑∑∑I N D E X                                            ∑1∑∑∑∑∑∑∑∑∑∑∑TRACYE BRYANT
∑2∑∑∑∑∑∑∑∑∑INDEX OF EXAMINATIONS                                   ∑2∑was called as a witness, and after having been first
∑3∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑∑Page                                    ∑3∑duly sworn, testified as follows:
∑4∑Examination By Ms. Dohner Smith ...................5            ∑4∑∑∑∑∑∑∑∑∑E X A M I N A T I O N
∑5∑Examination By Ms. Collins .......................79            ∑5∑BY MS. DOHNER SMITH:
∑6∑Examination By Ms. Dohner Smith ..................81            ∑6∑Q∑∑∑∑Ms. Bryant.∑We just met a minute ago.∑My
∑7                                                                 ∑7∑name is Mary Dohner Smith.∑I'm one of the attorneys
∑8∑∑∑∑∑∑∑∑∑∑INDEX OF EXHIBITS                                      ∑8∑who represents WestRock in the lawsuit that has been
∑9∑NO EXHIBITS MARKED                                              ∑9∑filed against the company by Mr. Michael Kulakowski.
10                                                                 10∑We're here today because Mr. Kulakowski has
11                                                                 11∑identified you as a potential witness in his lawsuit
12                                                                 12∑against the company.
13                                                                 13∑∑∑∑∑Have you ever given a deposition before?
14                                                                 14∑A∑∑∑∑No, I don't think I have.
15                                                                 15∑Q∑∑∑∑Okay.∑If you had, you'd probably remember.
16                                                                 16∑A∑∑∑∑Probably.
17                                                                 17∑Q∑∑∑∑Okay.∑Well, the oath that you've just been
18                                                                 18∑given by Jerri, our court reporter, is the same oath
19                                                                 19∑you would give if you were in a court of law,
20                                                                 20∑sitting in front of a judge and a jury.∑So you're
21                                                                 21∑required to testify to the same truthfulness and
22                                                                 22∑accuracy that you would if you were in front of a
23                                                                 23∑judge and a jury.∑Do you understand that?
24                                                                 24∑A∑∑∑∑Iunderstand that.
25                                                                 25∑Q∑∑∑∑Good.∑Jerri is our court reporter.∑She has


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∑1∑∑∑∑∑So, I don't want to say I didn't believe                     ∑1∑A∑∑∑∑No, huh-uh.
∑2∑Michael, because I've never had a reason not to                  ∑2∑Q∑∑∑∑Okay.∑Have you ever personally observed any
∑3∑believe him.∑It just seemed hard to believe, so I                ∑3∑interactions between Mr. Kulakowski and Mr. Tommy
∑4∑called Michael White and I asked him if those things             ∑4∑Whited?
∑5∑were happening, some of the things that Michael had              ∑5∑A∑∑∑∑No.
∑6∑said to me, and he said, yes, that they were.                    ∑6∑Q∑∑∑∑Is it fair to say, then, that everything
∑7∑Q∑∑∑∑What things did you specifically ask                        ∑7∑that you know about Mr. Kulakowski's treatment by
∑8∑Mr. White about?                                                 ∑8∑Mr. Whited is based upon what Mr. Kulakowski has
∑9∑A∑∑∑∑Was he hitting Michael, was he grabbing his                 ∑9∑told you?
10∑testicles and kicking him in the nuts, things like               10∑A∑∑∑∑That, and then when I confirmed that one
11∑that.∑I don't recall exactly what things I asked                 11∑time with Michael White.
12∑because it was a long time ago.                                  12∑Q∑∑∑∑Okay.∑But sitting here today, you can't
13∑Q∑∑∑∑Okay.∑Five years ago?                                       13∑really recall any specific details about your
14∑A∑∑∑∑Ido not recall how far -- how long ago it                   14∑conversation with Mr. Michael White, other than you
15∑was.                                                             15∑asked if that was going on?
16∑Q∑∑∑∑Is there anything that would help you recall                16∑A∑∑∑∑Idon't know the specific questions that I
17∑when you made the call to Michael?                               17∑asked him because that was so long ago; I didn't
18∑A∑∑∑∑No.                                                         18∑know that it was going to be important.∑All I was
19∑Q∑∑∑∑Okay.∑The change in your relationship, when                 19∑really doing then was confirming what Michael was
20∑it started to, I think, decline romantically, was                20∑telling me.∑Why I felt the need to do that is just
21∑that before or after Mr. Kulakowski started coming               21∑because I could not imagine somebody treating
22∑home and talking about the things with Tommy Whited?             22∑another person that way.∑And he told me that, you
23∑A∑∑∑∑You know, I don't know exactly what                         23∑know, he was.
24∑direction you're going to with all that.∑There's                 24∑∑∑∑∑But I do know that from that conversation
25∑been a lot going on, not just the stuff with him and             25∑that it got worse.∑The abuse seemed worse, because
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∑1∑with work.∑But I had two sick patients.∑I had a                  ∑1∑Michael would come in and there would be -- if I
∑2∑father dying.∑He died, and then I -- and I dealt                 ∑2∑happened to walk in -- if I would walk in at night
∑3∑with that.∑And then my mother, right after that,                 ∑3∑and he was in the shower and I would walk in to tell
∑4∑got sick, and I dealt with that.∑So, there was a                 ∑4∑him I was just there, I was home, so he wouldn't be
∑5∑lot going on.                                                    ∑5∑scared when he walked out, because he could be
∑6∑∑∑∑∑I don't know about you, but -- maybe it was                  ∑6∑easily startled, and there would be a big bruise on
∑7∑my sexual desire that left, and I wasn't interested.             ∑7∑his leg.∑I'd say, where did you get that bruise?
∑8∑So maybe -- you know, I don't mean to be putting all             ∑8∑Well, Tommy Whited.
∑9∑of that off on Michael.∑I was consumed with lots of              ∑9∑∑∑∑∑Then there was one time -- that was several
10∑stuff going on myself.                                           10∑times I would notice a bruise.∑Then there was one
11∑Q∑∑∑∑Okay.∑I want to be respectful of -- and not                 11∑time when he -- his testicles were swollen and he
12∑be obtrusive, so I'm going to ask a very limited                 12∑said, would you look at this, I don't think that
13∑question about that.∑Again, I really don't mean to               13∑this is normal.∑I looked, and I said, how did that
14∑offend you or pry.                                               14∑happen?∑He told me that Tommy had kicked him, and
15∑∑∑∑∑When did your parents start getting sick?                    15∑did I think he should go to the doctor.
16∑Do you have a time period or a year?                             16∑∑∑∑∑Then there were times when he would be
17∑A∑∑∑∑Not without a calendar and looking at it, I                 17∑bleeding in his urine.∑He would say this is what
18∑don't.∑My mother has been dead five years.∑My                    18∑happened today after Tommy Whited kicked me, I
19∑daddy's been dead ten years.                                     19∑started bleeding.
20∑Q∑∑∑∑Okay.∑All right.∑That's all I'm going to                    20∑∑∑∑∑Then there was a time he came home early
21∑ask about that.                                                  21∑from work and -- because Tommy Whited had hit him in
22∑A∑∑∑∑Thank you.                                                  22∑the parking lot with the truck.
23∑Q∑∑∑∑Anyone other than Michael White at WestRock                 23∑∑∑∑∑I mean, it just goes on and on.∑It was sad
24∑that you've talked about Mr. Kulakowski's situation              24∑that Michael still wanted to please that man.∑He
25∑with?                                                            25∑wanted to -- he wanted Tommy Whited to acknowledge


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∑1∑the work he was doing, and that he was doing a good             ∑1∑Q∑∑∑∑What do you mean by several?∑I think that
∑2∑job there.                                                      ∑2∑means different things to different people.
∑3∑∑∑∑∑We talked about him quitting work and                       ∑3∑A∑∑∑∑Iwould see different bruises on his legs
∑4∑looking for -- not quitting, but looking for a                  ∑4∑or -- I don't know how to answer any differently.
∑5∑different job.∑Michael liked the work that he was               ∑5∑Q∑∑∑∑Imean, five, ten, fifteen?∑What kind of --
∑6∑doing there, and he liked some of the people there.             ∑6∑what is your --
∑7∑He just wanted to be treated differently.∑He wanted             ∑7∑∑∑∑∑∑∑∑(Overlapping speech.)
∑8∑to be appreciated.                                              ∑8∑A∑∑∑∑Specifically I remember two or three bruises
∑9∑Q∑∑∑∑Have you ever communicated with Mr. Whited                 ∑9∑on the legs, and then the testicles being swollen.
10∑directly, either by phone or in person?                         10∑Q∑∑∑∑Okay.∑And then the bruise on his cheek as
11∑A∑∑∑∑Other than the one time I told you about?                  11∑well?
12∑Q∑∑∑∑Whited.∑I'm sorry.                                         12∑A∑∑∑∑Yes.
13∑A∑∑∑∑Oh, Tommy Whited?∑I've never talked to                     13∑Q∑∑∑∑Do you recall when the bruise on his cheek
14∑Tommy Whited.∑I don't even know that I would know               14∑was?
15∑him if he walked in the office.                                 15∑A∑∑∑∑No, ma'am, I don't recall the dates or the
16∑Q∑∑∑∑Ibelieve you indicated that your current                   16∑times or what year it was.
17∑relationship with Mr. Kulakowski is -- I think the              17∑Q∑∑∑∑Okay.∑What about the swollen testicles?∑Do
18∑word you said, roommates.                                       18∑you recall --
19∑A∑∑∑∑Sometimes that's what it feels like.∑I care                19∑∑∑∑∑∑∑∑(Overlapping speech.)
20∑about Michael and I want our relationship to get                20∑A∑∑∑∑Idon't remember that either.
21∑back to what it was.∑I would like for him to be                 21∑Q∑∑∑∑Okay.∑Any other specific instances or times
22∑able to get past this and move on and be the man he             22∑you recall seeing any sort of injuries?
23∑was, but I don't know.                                          23∑A∑∑∑∑Not that I can recall at this moment.∑I'm
24∑Q∑∑∑∑Okay.∑You mentioned to me a couple of                      24∑not saying there aren't any more.∑At this moment,
25∑things that you observed with respect to                        25∑to think about all of them, I can't.
                                                         Page 35                                                             Page 37
∑1∑Mr. Kulakowski that he said Mr. Whited did to him.              ∑1∑Q∑∑∑∑Okay.∑Do you have any notes or anything
∑2∑You talked about a time where you came home, he was             ∑2∑that you took that would help you remember?
∑3∑in the shower, and there was a bruise.                          ∑3∑A∑∑∑∑About?
∑4∑∑∑∑∑Do you recall when that was?                                ∑4∑Q∑∑∑∑Any other injuries --
∑5∑A∑∑∑∑Idon't recall the dates, no.                               ∑5∑A∑∑∑∑About the abuse?∑No.
∑6∑Q∑∑∑∑Do you know how many years ago it would have               ∑6∑Q∑∑∑∑Let's talk about what Mr. Kulakowski told
∑7∑been?                                                           ∑7∑you was going on at work.∑Do you recall when he
∑8∑A∑∑∑∑Ido not, no.∑I had no idea I was going to                  ∑8∑first started coming home and saying Tommy Whited is
∑9∑need to remember dates or be writing down dates.                ∑9∑doing these things?
10∑Q∑∑∑∑Is there anything that would help you to                   10∑A∑∑∑∑Idon't recall exactly how long it's been or
11∑remember when that was?                                         11∑the date.∑When you're working and taking care of
12∑A∑∑∑∑No.                                                        12∑kids and grandkids and responsibilities and sick
13∑Q∑∑∑∑Okay.∑Do you recall where the bruise was on                13∑parents and sick neighbors, you're living life.∑So
14∑his leg?                                                        14∑I don't recall dates --
15∑A∑∑∑∑There were several.∑I remember one being on                15∑Q∑∑∑∑Okay.
16∑his right -- left leg.                                          16∑A∑∑∑∑-- or when he started coming home -- it
17∑Q∑∑∑∑On the thigh area, front thigh, back thigh?                17∑seems like it's been forever.
18∑A∑∑∑∑It was on the side of his -- I've seen                     18∑Q∑∑∑∑What do you remember the first thing him
19∑several bruises.∑I just remember that being a                   19∑kind of coming home and reporting to you?
20∑really bad bruise.                                              20∑A∑∑∑∑That he had kicked him in his private area.
21∑Q∑∑∑∑Okay.∑Any other specific bruises that you                  21∑Q∑∑∑∑Okay.∑Did he give you any specifics about
22∑recall seeing?                                                  22∑what happened?
23∑A∑∑∑∑Like I said, I've seen several bruises.                    23∑A∑∑∑∑Iremember him -- one of the things he
24∑He'd been hit in the face once, where there was a               24∑talked about was he was bent over his desk working,
25∑bruise on his cheek.                                            25∑doing something, doing some kind of paperwork.∑And


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∑1∑Q∑∑∑∑Tell me about that.∑Who did he say he's                     ∑1∑call into a number, then it will go -- it will end
∑2∑reported these to?                                               ∑2∑up going straight back to Tommy, and I don't want to
∑3∑A∑∑∑∑He reported -- I know he -- he started out                  ∑3∑be fired.∑He's already said that he would fire
∑4∑talking to people -- his co-workers about it. I                  ∑4∑anybody that reported him.
∑5∑don't know which ones, because I don't know all                  ∑5∑∑∑∑∑So we were always back and forth about what
∑6∑their names.∑You've got to remember, I was pretty                ∑6∑he should do or how he should be handling it.
∑7∑disgusted and fed up with all of these people.                   ∑7∑Q∑∑∑∑Do you recall when that conversation was
∑8∑∑∑∑∑And he told them.∑And he told me -- Michael                  ∑8∑when you asked him who's over the plant, who's
∑9∑would say, well, I've talked to such-and-such about              ∑9∑outside of the plant?
10∑it, and, you know, he's my manager or he's my                    10∑A∑∑∑∑Idon't recall when that conversation was,
11∑supervisor.                                                      11∑no.∑But he didn't feel safe doing that.
12∑∑∑∑∑I can remember one time saying to him, well,                 12∑Q∑∑∑∑Okay.
13∑maybe you should sit down and talk to Tommy and just             13∑A∑∑∑∑He didn't feel safe going outside.∑I don't
14∑tell Tommy, you wish he wouldn't treat you that way              14∑even know that I would feel safe, picking up a phone
15∑and to stop.∑And then I remember coming home one                 15∑and calling somebody on a phone and reporting
16∑afternoon and Michael said he had addressed Tommy                16∑something.
17∑and asked Tommy to stop, that he would appreciate it             17∑Q∑∑∑∑But he indicated that there was a hotline?
18∑if he didn't do that anymore.∑So then it continued.              18∑A∑∑∑∑Somebody gave him a number that he could
19∑It was like that almost made it worse.                           19∑call, but he did not feel comfortable calling that
20∑∑∑∑∑None of his supervisors or people he felt                    20∑number.
21∑like he could go to -- he said one time, one guy                 21∑Q∑∑∑∑Can you estimate when -- I mean, was this
22∑that he mentioned it to said, well, as long as you               22∑five years ago?
23∑work here, that's just the way it's going to be.                 23∑A∑∑∑∑Icannot.
24∑But I don't remember who it was that told him that.              24∑Q∑∑∑∑Three years ago?
25∑∑∑∑∑And then another guy he mentioned it to                      25∑A∑∑∑∑Icannot.
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∑1∑said, I wish -- I just wish he wouldn't do it so                 ∑1∑Q∑∑∑∑Was it after any specific incident?
∑2∑hard, kick you so hard.                                          ∑2∑A∑∑∑∑Ihave no idea.∑But you have to understand,
∑3∑∑∑∑∑Then there was the one that said as long as                  ∑3∑he did not feel comfortable calling that number
∑4∑you work here, that's just the way -- oh, another                ∑4∑because you don't even know who you're getting or
∑5∑guy told him, well, he does that because he likes                ∑5∑what it is or -- your concern is that it goes
∑6∑you.∑I told Michael, I said, well, then just                     ∑6∑straight back to Tommy Whited.∑Or his concern is
∑7∑don't -- that's not important for him to like you.               ∑7∑that it went straight back to Tommy Whited.
∑8∑As long as you're doing a good job and you're doing              ∑8∑Q∑∑∑∑Did you personally ever witness
∑9∑your work.                                                       ∑9∑Mr. Kulakowski complain to anybody about Tommy
10∑∑∑∑∑So then he decided to go to HR.∑I don't                      10∑Whited?∑Like were you there --
11∑know if Michael decided that on his own or if that               11∑A∑∑∑∑No.
12∑was something I had suggested to him, did they have              12∑Q∑∑∑∑-- and witnessed it?
13∑an HR at that plant that he could go to.∑Maybe it                13∑A∑∑∑∑No.
14∑was me that said that.∑He said that would have been              14∑Q∑∑∑∑Did Mr. Kulakowski ever indicate that
15∑a woman named Helen, I think.∑I couldn't swear to                15∑Mr. Whited did this to anybody else?
16∑her name.∑But he said he went and talked to her                  16∑A∑∑∑∑Iasked him if he did that to anybody else.
17∑about it and said that there wasn't anything -- or               17∑Q∑∑∑∑What did he say?
18∑she would check -- I'm not sure.∑Whatever she said,              18∑A∑∑∑∑Idon't recall at this moment whether he
19∑it was not a way to fix it.                                      19∑said he had done it to somebody else, but he did not
20∑∑∑∑∑So I asked Michael, I said, well, is there                   20∑treat anybody like he did him.∑I do believe he said
21∑somebody who's over that plant?∑Who you go to,                   21∑that he had.∑I can't -- I couldn't swear to that.
22∑who's the main plant?∑Is there somebody you can go               22∑I could not swear under oath about that.
23∑to there?                                                        23∑Q∑∑∑∑Okay.∑Did Mr. Kulakowski ever indicate that
24∑∑∑∑∑And he had a fear of doing that.∑He said,                    24∑he thought that these things that Tommy was doing to
25∑well, if I call into a hotline, to this number, if I             25∑him were sexual harassment?


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∑1∑A∑∑∑∑Yes.                                                       ∑1∑had gone to go see my girlfriend in Chattanooga, and
∑2∑Q∑∑∑∑Okay.∑When did he start telling you that?                  ∑2∑he got a call there that something had been said --
∑3∑A∑∑∑∑Idon't recall a specific date that he felt                 ∑3∑something that had been reported about Tommy Whited,
∑4∑like it was sexual harassment.                                  ∑4∑so that when he got back, he needed to be aware that
∑5∑Q∑∑∑∑Has it been years ago or recently?                         ∑5∑this had been done and they had reported the abuse
∑6∑A∑∑∑∑Idon't recall exactly.                                     ∑6∑he was doing to Michael, along with some other
∑7∑Q∑∑∑∑Do you know if it's before or after he filed               ∑7∑things.
∑8∑his lawsuit?                                                    ∑8∑∑∑∑∑So, Michael worried about that then the
∑9∑A∑∑∑∑Oh, it was before.                                         ∑9∑entire -- it was just two or three days that we were
10∑Q∑∑∑∑Okay.∑Do you know if it was before or after                10∑down there, and he was consumed with it then, afraid
11∑he sought out legal advice?                                     11∑he was going to lose his job, that he would think
12∑A∑∑∑∑You're talking about the abuse?                            12∑that it was him that reported it.
13∑Q∑∑∑∑Where he thought what was happening to him                 13∑∑∑∑∑So, he went to work, and evidently people
14∑amounted to sexual harassment.                                  14∑started coming in and asking people questions and
15∑A∑∑∑∑Well, I even think -- I'm the one that said                15∑sitting down with people one on one and talking to
16∑to Michael that that's considered sexual harassment             16∑them about different things that were going on in
17∑in the workplace.                                               17∑the plant.
18∑Q∑∑∑∑Okay.∑But you don't recall when you would                  18∑Q∑∑∑∑Did Mr. Kulakowski tell you that he provided
19∑have --                                                         19∑a statement during that investigation?
20∑A∑∑∑∑No, not really.                                            20∑A∑∑∑∑Ibelieve he did.
21∑Q∑∑∑∑Did Mr. Kulakowski ever indicate to you that               21∑Q∑∑∑∑Did he tell you what -- anything about the
22∑he had called outside of the plant, up to the                   22∑details of --
23∑corporate office or anything like that, to report               23∑A∑∑∑∑No.
24∑Mr. Whited?                                                     24∑Q∑∑∑∑Okay.∑Have you observed any, I guess,
25∑A∑∑∑∑No.                                                        25∑symptoms of what you would consider emotional
                                                         Page 47                                                             Page 49
∑1∑Q∑∑∑∑Okay.                                                      ∑1∑distress with respect to Mr. Kulakowski?
∑2∑A∑∑∑∑Not to my memory.                                          ∑2∑A∑∑∑∑Absolutely.
∑3∑Q∑∑∑∑Do you know whether or not Mr. Whited still                ∑3∑∑∑∑∑∑∑∑MS. COLLINS:∑Objection to form.
∑4∑works at WestRock?                                              ∑4∑BY MS. DOHNER SMITH:
∑5∑A∑∑∑∑According to Michael, Tommy Whited does not                ∑5∑Q∑∑∑∑What have you observed?
∑6∑work there anymore.                                             ∑6∑A∑∑∑∑Emotionally?
∑7∑Q∑∑∑∑Okay.∑Since Mr. Whited has left WestRock,                  ∑7∑Q∑∑∑∑Yes, ma'am.
∑8∑has Mr. Kulakowski reported any other incidents of              ∑8∑A∑∑∑∑He just -- that's part of what I talked
∑9∑abuse or inappropriate conduct?                                 ∑9∑about his personality being different.∑He's
10∑A∑∑∑∑From people working there now?                             10∑emotionally -- it seems like that it's -- I'm
11∑Q∑∑∑∑Yes.                                                       11∑looking for the words to say.∑He seems -- he's
12∑A∑∑∑∑No.                                                        12∑worried, fearful.∑He isolates himself.
13∑Q∑∑∑∑Okay.∑Did Mr. Kulakowski discuss with you                  13∑Q∑∑∑∑So you said his personality is different and
14∑any sort of investigation that was taking place by              14∑that he seems worried and fearful and isolates
15∑folks outside of the plant?                                     15∑himself.∑Anything else that you've witnessed?
16∑A∑∑∑∑He talked about somebody coming in to                      16∑A∑∑∑∑He just -- he's been broken.∑Seems like
17∑interview people about things that had went on in               17∑he's lost self-esteem, self-confidence, that he's --
18∑the plant.                                                      18∑he seems less than a man.∑I know he -- he even says
19∑Q∑∑∑∑Okay.∑Did he -- tell me what he told you                   19∑he feels that way, and I can sense he feels that way
20∑about that.                                                     20∑because of his self-confidence and self-esteem and
21∑A∑∑∑∑He said that after this had come out -- I                  21∑self-worth.
22∑guess somebody had reported something on Tommy.                 22∑Q∑∑∑∑All right.∑Anything else that you've
23∑Somebody finally made a report about the things he              23∑observed?
24∑was doing.                                                      24∑A∑∑∑∑I'm sure there is.∑I just can't think of it
25∑∑∑∑∑We were on vacation, and he got a call -- we                25∑at the moment.


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∑1∑things going on, so...                                           ∑1∑A∑∑∑∑That, and Tommy would still be there if
∑2∑Q∑∑∑∑What's going on?                                            ∑2∑somebody had not reported what was going on.∑So
∑3∑A∑∑∑∑No.∑Just different things that --                           ∑3∑then it became -- he started worrying about that.
∑4∑lifestyle, what you're doing.∑My daughter got                    ∑4∑Well, who reported it and why did he get let go, and
∑5∑married and --                                                   ∑5∑is it because of me and is he going to come back on
∑6∑Q∑∑∑∑Congratulations.                                            ∑6∑me.
∑7∑A∑∑∑∑-- you know, people have their own Sunday                   ∑7∑∑∑∑∑So, it just changed.∑It wasn't he was
∑8∑things that they want to do.∑So we're not doing as               ∑8∑getting abused anymore, physically, but he was
∑9∑much.                                                            ∑9∑worried now about something different.∑It was
10∑Q∑∑∑∑Okay.                                                       10∑another worry.
11∑A∑∑∑∑It's limited now.∑Instead of every Sunday,                  11∑Q∑∑∑∑Okay.
12∑you might do it one Sunday a month.                              12∑A∑∑∑∑Or another concern.
13∑Q∑∑∑∑Okay.∑Any other way in which                                13∑Q∑∑∑∑What types of things did you used to do?
14∑Mr. Kulakowski -- you've observed Mr. Kulakowski                 14∑How often would you used to go out?
15∑isolate himself?                                                 15∑A∑∑∑∑Well, maybe to the movies on the weekend or
16∑A∑∑∑∑Well, we just -- we don't do things.∑You                    16∑out to eat supper.∑He would go grocery shopping
17∑know, there's not anything we do together anymore                17∑with me.∑He stopped doing that.∑If I went over to
18∑because he just doesn't want to get out and go do                18∑my son's house to eat supper, he just kind of
19∑it.                                                              19∑stopped going.
20∑Q∑∑∑∑Has he said why he doesn't want to go out                   20∑Q∑∑∑∑Okay.∑Any other way in which you've seen
21∑and do things?                                                   21∑that he has isolated himself?
22∑A∑∑∑∑Just doesn't feel -- whether it's -- no.                    22∑A∑∑∑∑Just not interacting like he used to.∑If I
23∑Just that he just -- I think once he got into the                23∑had to go to a funeral home or to a wedding, he
24∑routine of doing what he's doing, he just -- he's                24∑wouldn't go.
25∑got to work hisself back into doing it.∑I'm hoping               25∑Q∑∑∑∑Have there been weddings or funerals that he
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∑1∑that will get better when he can get past all this.              ∑1∑hasn't --
∑2∑Q∑∑∑∑Is he afraid to go out because he thinks                    ∑2∑A∑∑∑∑Yes.
∑3∑Tommy might be somewhere or --                                   ∑3∑Q∑∑∑∑-- gone to?
∑4∑∑∑∑∑∑∑∑(Overlapping speech.)                                     ∑4∑∑∑∑∑How many?
∑5∑A∑∑∑∑There's times he has said that.                             ∑5∑A∑∑∑∑Several.
∑6∑Q∑∑∑∑Okay.∑How often -- I guess when did he stop                 ∑6∑Q∑∑∑∑Okay.∑Did he go to your daughter's wedding?
∑7∑wanting to go out?                                               ∑7∑A∑∑∑∑Yes, he did.
∑8∑A∑∑∑∑That's been a while.∑I mean, he just didn't                 ∑8∑Q∑∑∑∑Good.
∑9∑feel like going and doing.∑Whether it was the                    ∑9∑A∑∑∑∑He was an usher.∑He didn't have much of a
10∑depression, maybe that had a lot to do with it.∑But              10∑choice.
11∑it was like Michael would get up and go to work, and             11∑Q∑∑∑∑He had to, huh?
12∑then he'd leave the house around 3:30, 4:00 in the               12∑∑∑∑∑Him not going to weddings and funerals, was
13∑morning, go to work, and then get home 4:00 or                   13∑that before or after Mr. Whited was let go?
14∑5:00 in the afternoon, and eat supper and take a                 14∑A∑∑∑∑It was after -- no, it was before he got let
15∑shower.∑I mean, I wouldn't usually be there that                 15∑go.∑After all of the abuse started happening.
16∑early.∑But that was his routine of the things he                 16∑Q∑∑∑∑Is that something that's getting better,
17∑did.∑It was like he was surviving.∑Not enjoying                  17∑he'll go to those kinds of functions with you now?
18∑life, but just surviving.                                        18∑A∑∑∑∑That hadn't happened -- he hasn't been to
19∑Q∑∑∑∑So has that changed since Mr. Whited left                   19∑any funerals, but there hasn't been a wedding.
20∑WestRock?                                                        20∑Q∑∑∑∑Other than the daughter's, okay.
21∑A∑∑∑∑Well, I thought that it would get a little                  21∑∑∑∑∑Any other ways that you've seen him isolate
22∑better, but I think the worry then turned to                     22∑himself?
23∑something different.∑So, it was --                               23∑A∑∑∑∑He stopped fishing as much.∑He loves to
24∑Q∑∑∑∑Worry about Tommy, running into Tommy                       24∑fish, and he didn't go as often.
25∑somewhere?                                                       25∑Q∑∑∑∑When did he -- when did that start?


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